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                                                                    USDC-SDNY
UNITED STATES DISTRICT COURT                                        DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                       ELECTRONICALLY FILED
                                                                    DOC#:
 HAYDEE CIFUENTES,                                                  DATE FILED: 11-6-20

                              Plaintiff,
                                                                       19-CV-6805 (RA)
                         v.
                                                                            ORDER
 TARGET CORPORATION,

                              Defendant.



RONNIE ABRAMS, United States District Judge:

         As discussed at today’s conference, it is hereby:

         ORDERED that Defendant Target Corporation’s motion for summary judgment, if any, shall be

filed no later than January 11, 2021. Plaintiff shall respond by February 15, 2021. Defendant’s reply will

be due on February 22, 2021.

         The parties are further directed to keep the Court apprised as to the status of their settlement

discussions, and to inform the Court if at any point they request either a referral to a magistrate judge for

a settlement conference or to the Southern District’s mediation program.

SO ORDERED.

Dated:      November 6, 2020
            New York, New York

                                                   RONNIE ABRAMS
                                                   United States District Judge
